
KELLY, Judge.
Peter and Amy Blakeley challenge the final summary judgment entered in favor of Jim Agles, the real estate agent and property manager who represented the seller in a real estate transaction with the Blakeleys.1 Because genuine issues of material fact remain in dispute with regard to whether Mr. Agles had knowledge of material defects in the home at the time of the sale and breached his duty to disclose them to the Blakeleys, we reverse and remand for further proceedings.
We review an order granting final summary judgment de novo. See Volusia Cty. v. Aberdeen at Ormond Beach, L.P., 760 So. 2d 126, 130 (Fla. 2000). If the evidence raises the slightest doubt on any issue of material fact, if it is conflicting, or if it will permit different reasonable inferences, summary judgment is improper. Grimes v. Lottes, 241 So. 3d 892, 896 (Fla. 2d DCA 2018). Summary judgment should only be granted "where the facts are 'so crystalized' that nothing remains but questions of law." Ventana Condo. Ass'n, Inc. v. Chancey Design P'ship, Inc., 203 So. 3d 175, 183 (Fla. 2d DCA 2016) (quoting McCabe v. Fla. Power &amp; Light Co., 68 So. 3d 995, 997 (Fla. 4th DCA 2011) ). Because the facts of this case are not "so crystallized" such that nothing remains but questions of law, we *674reverse and remand for further proceedings.
Reversed and remanded.
LaROSE, C.J. and BLACK, JJ., Concur.

Case number 2D17-4165 is an appeal from the final summary judgment granted as to count V of the Blakeleys' second-amended complaint and from the order denying the Blakeleys' motion for rehearing. Case number 2D17-3782 is a separately-filed appeal from the Blakeleys' Amended Motion to Vacate Order on Motion for Summary Judgment. We consolidate these appeals for purposes of this opinion.

